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       30(b)(6) objections
       Jacobs, Elissa (Law) <ejacobs@law.nyc.gov>
       Mon 8/23/2021 8:09 PM
       To: Sow-Legal <Sow-Legal@blhny.com>; wood@kllflaw.com <wood@kllflaw.com>; Payne Litigation Team
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       Cc: Weiss, Dara (Law) <daweiss@law.nyc.gov>

       Counselors,

       In preparing for making our motion, we realized that there were a number of other grounds for our motion
       to quash. In order to complete our meet and confer obligations, we wanted to raise these with you first.
        Please let me know when you have time to meet and discuss our added objections,

       Elissa




       Objections to Topic No. 1



       - Irrelevant: The process of the NYPD's creation, revision, and finalization of the purported "Relevant
       Policies and Procedures" identified by plaintiffs in "Attachment A" at No. 8 bears no probative value, nor
       any other possible relevance to the allegations in plaintiffs' complaints, whether or not the alleged conduct
       of any officers allegedly involved is claimed to have conformed with any particular policy (or policies)
       and/or procedure (or procedures). Nor is the origin of any NYPD policies and/or procedures at all
       relevant to plaintiffs' Monell claim, as the only pertinent inquiry there is whether a municipal policy or
       procedure (official or otherwise) caused a plaintiff to suffer a constitutional violation; how official
       policies and procedures were created does not factor into a court's evaluation of a Monell claim.



       - Overly burdensome: This Topic encompasses 32 discrete subparts purporting to identify specific
       NYPD policies and procedures, designated as letters (a) through (ff). However, some of the specified
       "policies and procedures" contain subparts, such as letter "o," while others, such as letter "r," represent
       compound requests seeking information on multiple NYPD policies and procedures.



       - Overbroad: As an initial matter, this Topic is overbroad and not sufficiently limited in time, as no time
       frame is provided for the information sought regarding the so-called "Relevant Policies and Procedures."
       Even if defendants were to construe the request as limited to the designated policies and procedures in
       effect at the time period covered by the incidents in the complaints, this request would still be irrelevant,
       overly burdensome, and overbroad for the aforementioned reasons.

       - Not proportional to the needs of the case: Finally, the request is not proportional to the needs of this
       case, as the negligible possible relevance, if any, that the origin stories of the specified NYPD policies
       and procedures may have to this case is far outweighed by the burden, time, and expense it would require
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       defendants to search for multiple NYPD officials with the requisite knowledge regarding the numerous
       and varied 32+ policies and procedures, and/or the time and capacity to educate themself just to address
       all of the details requested by plaintiffs in this single Topic, which is only the first of 7.



       Objections to Topic No. 2



       - As to "records documenting the process for developing, soliciting or providing input into, modifying
       or revising, reviewing, and approving, as well as the identities of the individuals involved in drafting,
       developing, modifying, providing input into, and/or approving, each one of the Relevant Policies and
       Procedures," these requests are:

                  Irrelevant -- The information sought is not relevant to any party's claim or defense in this
                  litigation (see Rule 26(b)(1));
                  Overly burdensome, for the same reasons articulated in objection to Topic No. 1, insofar as Topic
                  No. 2 seeks even more detailed background information on the greater than 32 NYPD policies and
                  procedures enumerated by plaintiffs;
                  Overbroad, for the same reasons articulated in defendants' objection to Topic No. 1;
                  Not proportional to the needs of the case, for the same reasons articulated in defendants'
                  objection to Topic No. 1.

       - As to the requests for "[t]he nature and extent of" the records sought by Topic No. 2, as well as the
       "location(s) and manner(s) in which such documents and information are stored," defendants object
       that such requests seek impermissible "discovery on discovery." Since this information is entirely
       irrelevant to any party's claim or defense in this litigation (see Rule 26(b)(1)), plaintiffs' only possible
       purpose in seeking the same is to probe defendants' methodology for retaining, searching for and
       producing materials in fulfillment of their discovery obligations. Plaintiffs are not entitled to such
       "discovery on discovery," as there has been no allegation of any deficiency in defendants' production in
       this litigation; in fact, any such allegation would be premature at this stage as defendants' production is
       ongoing.



       - As to the requests for "any drafts, versions, and revisions thereof, including, but not limited to,
       correspondence, memoranda, to/from communications, meeting minutes, agendas, calendar entries,
       and other such documents reflecting the dates, times, and locations of related meetings and
       communications," defendants object that such material is protected from disclosure by the
       deliberative process privilege. Moreover, requests for minutiae such as "calendar entries, and other
       such documents reflecting the dates, times, and locations of related meetings" are clearly irrelevant.




       Objections to Topic No. 3

       - For the same reasons articulated above, in defendants' objections to Topics Nos. 1-2 which also concern
       the NYPD's process of creating and developing the greater than 32 policies and procedures enumerated in
       "Attachment A" at No. 8, defendants object to the information sought in Topic No. 3 as:

                  Irrelevant

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                  Overly burdensome
                  Overbroad
                  Not proportional to the needs of the case

       Defendants further object to the requests set forth in Topic No. 3 to the extent they are:

                  Duplicative of Topic No. 1
                  I
                  mpracticable /not feasible

       - As to the requests for the "location(s) and manner(s) in which such documents and information are
       stored," defendants object that plaintiffs seek impermissible "discovery on discovery," for the same
       reasons articulated in response to the same language in Topic No. 2, above.



       Objections to Topics Nos. 4 & 5

       - Irrelevant: None of the information requested in either Topic 4 or 5 is probative of any of party's claim
       or defense in the instant litigation.

       - Seeking impermissible "discovery on discovery": Since the information sought in Nos. 4-5 is entirely
       irrelevant to any party's claim or defense in this litigation (see Rule 26(b)(1)), plaintiffs' only possible
       purpose in seeking the same is to probe defendants' methodology for retaining, searching for and
       producing materials in fulfillment of their discovery obligations. Plaintiffs are not entitled to such
       "discovery on discovery," as there has been no allegation of any deficiency in defendants' production in
       this litigation; in fact, any such allegation would be premature at this stage as defendants' production is
       ongoing.

       - Not proportional to the needs of the case: The impermissible "discovery on discovery" sought by
       plaintiffs is not tailored to remedy any alleged deficiency in defendants' production; rather, it seeks an
       overbroad, free-ranging inquiry into defendants' search methodology, document retention and production
       processes with respect to every possible source of defendants' production. Even if plaintiffs had put forth
       sufficient evidence of a deficiency in defendants' production, the scope of any "discovery on discovery"
       that might be considered appropriate would be exponentially more minute because it would be tailored
       specifically to address that particular deficiency. Thus, Topics Nos. 4-5 are not proportional to the needs
       of the case.

       - Unduly burdensome: Insofar as responding to Topics Nos. 4-5 would require defendants to prepare
       multiple witnesses to address a litany of 30(b)(6) topics, defendants object that these Topics are unduly
       burdensome.


       Objections to Topic No. 6

       Defendants object to Topic No. 6 as it is cumulative / duplicative of evidence previously produced by
       defendants in discovery, including in the form of document production (including written NYPD policies
       and procedures, such as Patrol Guide sections), as well as in testimonial form during plaintiffs'
       depositions of individuals they subpoenaed.


       Objections to Topic No. 7


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       Defendants object to Topic No. 7 as cumulative / duplicative of evidence previously produced by
       defendants, for the same reasons articulated in response to Topic No. 6, above


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